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EXHIBIT E
Case 1:00-cv-01898-VSB-VF Document 2612-6 Filed 07/14/09 Page 2 of 15

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_Inogen’

Fydvornental Alliance.

SUSTAINABLE GYTRATEGIES FOR GLOBAL LEADERS

August 26, 2008

Ms. Rui Jun Feng

NYSDEC Region 2

Hunters Poimt Plaza

47-40 21° Street — 2” Floor

Long Island City, NY 11101-3401

Re: Ground Water Monitoring Report — Second Quarter 2008
NYSDEC Spill Number 99-13468
Former Amoco BP Service Station Number 11009
165-25 Liberty Avenue
St. Albans, Queens County, New York

Dear Ms. Feng:

Delta Consultants (Delta) has prepared the enclosed Ground Water
Monitoring Report on behalf of Atlantic Richfield Company (Atlantic
Richfield), a BP affiliated company. The report details subsurface
assessment results from site work conducted on May 14, 2008.

The site is on a quarterly monitoring schedule. The next sampling event
is scheduled for the month of August 2008.

Should you have any questions or comments, please do not hesitate to
contact me at 914.765.8194.

Sincerely,
DELTA CONSULTANTS

Senior Specialist

Encl. Ground Water Monitoring Report ~ Second Quarter 2008

84 Business Park Drive Surre 107 Armonk, New York 10504 USA
PyoONE 914.765.8180 / 800.477.7411 Fax 914.765.0250 WWw.DELTAENV.COM

BPCITYNY0000279
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TABLE 1

GROUND WATER GAUGING AND ANALYTICAL DATA

Sevice Station Number 11009 ‘
165-25 Liberty Ave
St. Albans, NY

GROUND WATER GAUGING DATA

iReference iDepth to ‘Depth to! LNAPL Water
Elevation “ Water LNAPi Thickness [Elevation

GROUND WATER ANALYTICAL DATA |

: : Bthyk | Total
: Toluene benzene :Xylenes BTEX | MTBE

WeliD Date |): a (uate) (gi) (ug) (gil) (Halt)

NYSDEC GWQS . |. NGV | NGV_+ NGV = NGV_ | _NGV 86 8 8 NGV 10

mw-1. 0822/2000 | j f <oso | <oso {| <oso } np fo 215
_-MW-1- 192/08/2001 4 i i i <0,50 i 14 : 1.65 : 7.08 674
wet |06/27/2001 | i : : <0.60 | <060 : <050 | 1.04 : 329

mw-1 | 10/22/2001 i ; <0.50 i <0.50 <0.50 0.83 i: 19.3
_ Mwe1 02/15/2002 | 3 P ; <0.500 : 14 i <0.500! 27 } <100

mw-1 | 06/01/2002 | i i <os0 i <080 } <0.50 } 0.71 i 74.4
MWe 07/09/2002 £ <0.60. i <0.50 | <0.50 j ND : 700

mw-1 — |4ov2a/2002 | i 4 i i / eto i <to  <10 $ np 0586
w+ 02/04/2003! 3 0 $ <10 | <0 : ND { O87
_MW-1 08/14/2003 | 4 i i <10 $ <to { <t.0 i ND ] 43

MW-1 09/05/2003 | i <1.0° i <0 | <to i ND: 43

mw-1 | 44/26/2003) b sto <1.0 <1.0 i np i <to

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MW-1 08/14/2004: : i i <10 i _<1.0 i <1.0 i <1.0 i ND: <10
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mw-1 [02/10/2008 | i pe — NoSampie

—Mw.-4 — |06/31/2005 | ; I eto i <0 <t0 | <10 Ponp f <10

MW-4_}08/19/2005 | 3 i 4 Eo <10 f <1.0 a <1.0 3} <1.0 ND 0.4 J
MWe [ttz2c05 i can stb 82 <1.0, SA : 63 | <10
‘ww-1 — [ovvezi2006 | 100.34 | No Access | No Access :

MW-1 08/26/2008 | 400.34 i NoAccess i No Access

MW-1 — 108/25/2006 |} 100.34 { NoAccess | No Access

Mw-1 11/27/2006), 100.34 a NORGE _. .No Access

MW-1 103/05/2007 : 400.34 _ Well Not Sampled - No Access : Weil Not Sampled - No Access

MW-1 05/24/2007 A 100.34 i _ Weil Not Sampled - Not Found i oo Weil Not Sampled - Not Found

MW-1 | 08/29/2007 | 100.34 i Wel} Not Sampled - Not Found BO on. / Well Not Sampled - Not Found

— Mw 41/08/2007 +: 100.34 _ Well Not Sampled - Not Found . _ __. Well Not Sampled - Not Found

_Mw-t —_ [o2/8/2008/} 100.34 Well Not Sampled-NotLocated =f = Well Not Sampled -Not Found

MW-1 05/14/2008 !| 100.34} Well Not Sampled - Not Located Well Not Sampled - Not Found

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MW-2 ~ 12/08/2001 ! | "S400 | 071 $4480 | 3,200 : 6841 | 4,620
—mw-2 — }0@/27/2001 | i i 4 asa | 875 | 179 3 367 } 888 : 302
—Mw-2 | 10/22/2001} 4,820 i 4140 | 3,020 5,750 | 11,730; 848

MW-2  /02/18/2002 | i 459} 748 i 4470: 3,420 : 6.097 | 901
— MW-2 10/23/2002 | ; i i i 001 } 423 i 49.5 201.4} 294 i 7
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a MWe 05/14/2003 | i A i t (120 | 26 2 365 | 353 4 “74.6 18
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Page | of 16

BPCITYNY0000293
Well ID

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Reference ‘Depth to
‘ Elevation

_ {ft}

Date

NYSDEC GWOS

TABLE 1
GROUND WATER GAUGING AND ANALYTICAL DATA

Sevice Station Number 11009
165-25 Liberty Ave

St. Albans, NY

__GROUND WATER GAUGING DATA _

NGV

(f)
NGV

'Depth to :
Water - LNAPL | Thickness ‘Elevation

(ft)
NGV

ed pin.

(ff)
NGV

LNAPL

: Water

(rn

NGV

Benzene
{ugit.}
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GROUND WATER ANALYTICAL DATA

: (ug/l)

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Ethy- |
: Toluene ‘ benzene = Xylenes
(yal)

5

' (ugil)

Total
BTEX
{ugit.)

NGV

MTBE
(ug/L)
: 40

Lawes
MW-2

MW-2
‘MW-2

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~ lozreo/2004
06/14/2004 |
| 8/09/2004 |

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{1126/2008 1

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13.7
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772 |

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475
286

76.2}
461

374

4,070

744
2,470

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1,462
4,564
3,526

MW-2
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_MW:3

MWS

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|, MWS

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12/04/2004 i

“Toezareo0o|

_}o20g/2001
06/27/2001
| 1 0/22/2001 |
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40/23/2002 |
02/04/2003!
05/14/2003 |
109705/2003 |

02/20/2004 ||
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| 1126/2003 1)

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14,400,
| 11,400

12,300
15,700
21,700
10,000
4,300
14,700
9,640
7,630

7,380

9,570
13,800
150,000
16,300
16,200
24,600
29,500
21,100
9,840
30,000
31000
24,700

30,400

Destroyed

2,730
1,700
4,130
2,510

2,130.

2,950
3,230

2,480
4,720

2,560

2,710
2,980

3,150

13,700
8,580
7,350
12,600
10,500
14,640
15,200
42,500
7,790
12,800
13,700
44,100
15,600

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32,050

35,180 :

172,880

42,810 }

41,130
57,890
69,630

46,090
23,650 }

57,060
57,050

49,310 3

56,500

+ 209
<1.0
“2,5
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4,080
988

: 928
1,070
i 253
+ <200
<100
i <200
<25.0
i <20.0
1 <60.0
<106
<1.0

MW-3
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MW-4

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421012004 |

02/08/2001
_| 27/2001 |
10/22/2001 :
02/15/2002 |

07/09/2002 i
10/23/2002
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09/05/2008 !
11/26/2003 |
02/20/2004 |
08/14/2004 |
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| 2101/2004)

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{08/19/2008

05/01/2002 |

1447/2005 |

08/22/2000 1)

02/10/2005 |)

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Destroyed

4,920
4,790
41210
4,970

2,190

2,630

2,030

9,240
3,270

2,870
2,600

2,560
2,260
4,780

1,950

4,540

4,650

4,770

260
2270

5,310
5,890
3190
5,580

7,450
8,710
7,970

10,670

12,100
9,250
7,720

; 8,490
i 8,610
6,930
; 6,200
£5,740
i 6,740
6,580
| 8,560

15,070

14,340 }

9,250
13,620
22,330
23,310

24,970 3

27,850
38,110

1 24144
17,740

25,080
26 480
19,430
48,694
18,264
20,392
30,666
23,088
24 ,860

<5.0
<20.0
<20.0
<100
<7400
<250
<400
<100
<100
<100
<20.0
<20.0
<50.0
<25.0
<1.0
+ <100
<50.0
<50.0
<=100
<5.0

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TABLE 1

GROUND WATER GAUGING AND ANALYTICAL DATA

Sevice Station Number 11009 ;
165-25 Liberty Ave
St. Albans, NY
_ GROUND WATER GAUGING DATA | | GROUND WATER ANALYTICAL DATA
‘Reference ‘Depth to. ‘Depth to! LNAPL | Water Ethyl- : Total
, Elevation © Water < LNAPL Thickness iBlevation }} Benzene ; Toluene i benzene ‘Xylenes BTEX MTBE
_WellID Date) ( (R) AE Gag) (gL) (ugh) (Hav) © (ug/L) (uait}
NYSDEC Gwas NGV NGV ; NGV , NGV ; NGV 4 § 2). 8 23. 65, NGV 0
_MWe4 : ‘| oze2i2006 99.64. . No Access : i No Access
MW-4e 05/26/2006 3; 99.64 No Access — i! No Access
_iwwe4 —Josia6i2006/] 9064: 9 NoAocess LN Aress
| MW-4 [49/27/2006 99.64 14.02 | NP { NP: 85.62 a 349 : 493 | 203 | 344 |} 283 i <4.0
_mw-4 — fososiz007!! 99.64 1418} NP | NP} 8646 |) 0.794 does } 064) } 12 |} 893 i <1.0
i MW-4 05/24/2007 i 99.64 4 __Well Not Sampled - No ‘Access __ Well Not Sampled - No Access
_ MW-4- . 08/29/2007 4, 99.64 Well Not Sampled - Not Found | Lo. Well Not Sampled - Not Found ,
MW-4 41/08/2007} 99.64 i 13.75 i NP NP 85.89 ; <1.0 i 14 i 17 i <1.0 i 34 <1.0
mwa — foartezo0,) 0964 i 1374; NP i np f e590 1 x05 ios i 5 : <o5 | ND ; <0s
mw-4  los/a2008 9964 {13.60} Ne i NP | 86.04 Ecos | <0 i <08 i <o5 i ND i <O5
ws —_ |oszzr2000 | io j | a0 | 27,500 | 4030 { 23,900 : sa.t40 | <50.0
MWw-5 02/08/2001 i 404 6,740 i 4,740 7,450 16,334 <5.0
MW-5 06/27/2001 : i j 702° j 42,400 3,140 14,100 30,342 <20.0
cs |rozaroon;, ; 239 | 9620 | 2,110 | 8.980 | 20.90} <400
MW-5 {02/18/2002 | i d 309} 22,000 | 9,470 i 43,100 } 74,879 i <400
MW-5 {05/01/2002 | i ze} gosta {2850 ! 42,000 | 24,698 | <400
MW-5 [07/09/2002 ; 4 424 j 22,400 i 3,090 i 15,000 40,614 i <400
MW-5 10/23/2002 |: 4 i 106 25,400 3,280 : 18,000 } 43,786 <200
—omw-6 — |02/04/2003 } i i | aas | 25200 | 3,250 | 15,700 | 44,199 | <100
_MW-5 41/26/2003 | i i : -<60.0 19,700 : 2450} 13,900 36,050 1 <60.0
MW-5 [02/20/2004 1 i i i i qo $50 i 22,800 d 3,020 i 414,400 40,220 <50.0
— MW-5 [05/14/2004 | | | 1 «20.0 | 18,600 2,280 { 10,100 } 27,980 i <200
MW-5 08/09/2004 a i <1.0 | 22,000 | 2,680 13,400 i 38,080 | <1.0
- MW-5 42/01/2004) i i 4 i _€200 j 21,400 2,320 17,200 34,920 <200
—Mw-5 | 02/10/2005 | | ; No Sample
MW-5 | 05/31/2005! i | i i No Access
- MWS 08/19/2008 } i d i __ No Access
ws — [aa7o0s| po] No Access
, MW-5 02/22/2006 100.77 i No Access No Access
MWS 05/26/2006 | 100.77 } NoAccess _ No Access
_mw.s — [oaesi2006}| 100.77. No Access No Access
MW-5 11/27/2006}: 100.77 No Access ______ No Access
MW-5 03/05/2007 | 100.77 i Well Not Sampled - No Access Coe Well Not Sampled - No Access
MW-5 05/24/2007 | 00.77 Well Not Sampled - Not Found Well Not Sampled - Not Found
- MW-5 _ 08/29/2007 1 100.77 i _ Well Not Sampled « Not Found . __ Well Ne Not Sampled - . Not Found
“MW-S 5 . 11/08/2007 1 100.77 i Wall Not Sampled - Not Found . _Well Not Sampled - Not Found
“MW-5 - 02/18/2008 : 100.77 i - Well Nat Sampled - Not Located 3 Weill Not Sampled - Not Found
“MW-5 08/14/2008 | 100.77 Well Not Sampied - Not Located a Well Not Sampled - Not Found
“wwe — fosrezeocof poe caso i <os0 | <oso | <0so } ND | «00

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BPCITYNY0000295
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TABLE 1

GROUND WATER GAUGING AND ANALYTICAL DATA
Sevice Station Number 11009
165-25 Liberty Ave
St. Albans, NY

GROUND WATER GAUGING DATA == |, ~=—= ss GROUND WATER ANALYTICAL DATA

‘Reference ‘Depth to /Depth to : LNAPL Water : > Ethyl- : Fotal
oo Elevation . Water . LNAPL - Thickness :Elevation |; Benzene Toluene - benzene Xylenes  BTEX MTBE
:  WelltD «Date AY RARE (wt) (uit) © (ug/l) (ug/L) © (nolL) (ug/L)
NYSDEC GwWas . NGV. NGV | NGV | NGV : NGV 4 .— § >: & 5 2 NGV = 10

_..Mw-6 — jozvogra001f; 4 G Ho <0s0 $ <050 { <050 | <050 } ND { <0.50
—MW-6 — j06/27/2001), : <0.50 } <050 $ <050 $ <p50 | ND : 17.0
Mw-6 | 10/22/2001 ; i i <0.50 <0.50 $ <050 | <050 } ND <10.0

<0.50 : <0.50
<0.50 } <0.50
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<1.0 <10 f <10 <1.0 ND

: <050 } ND
<t0 of <0 $ <10 | <10 ND

<0.50 ND

<10.0
<=10.0
<10.0
1.0
1.8
1.01 :  <1.0

_mw-6 — |02/15/2002
— mw-8 [08/01/2002 |
_Mw-6 —_|07/09/2002
_MWW-6 | 10/28/2002
mw-6 — |02/04/2003 |
MW-6 — |12/01/2004

<0.50
<0.50

conus veedadcsdavancuscenswscsenecusscncavens #-

sO fb <10 <1.0 <1.0

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<1.0
<0.5

<0.

MW-6 — /08/29/2007!) 104.23
mw-6 — |14/08/2007 |; 104.23
_MW-6 —__|02/18/20081} 104.23
Mw-6 —-|08/14/2008! 104.23

17.93 $ NP
18.10
18.13
18.30

0530 | <10
NP} 8813 G  <1.0

_ NP 86.10 | <0.5
NP} 8593 fF  <08
en a :
0.5

<0.50
<0.50 $ <0.60 <0.50 } <0.50
<0.56 } <0.50 <0.0 i <0,50
<050 | <0.50 } <0.50 <0.50

NP
NP
NP

<1.0 { ND
<0.5 i ND
<0.8 ? ND

_ MW-6 __ {02/10/2008 |] 4 <1.0 <1.0 i <1.0 <1.0 ND <1.0
_ MW-6 ——-|05/39/2005 1! $1.0 i <10 } <10 <1.0 } ND <1.0
MW 08/19/2008 i i $1.0 - <1.0 : <1.0 <1.0 ND <1.0
_ MW-6 441472005 |) | i <0 <1.0 ; <1,0 <1.0 ? ND <1.0
MW-6 — |02/22/2006!; 104.23 } 17.52 (NP NP i 86.71 jf <1.0— <1.0 i <4.0 <1.0 ND <1.0
MW-6 08/26/2006 | 104.23 18.15 NP NP} 86.08 2  <1.0 <1.0 <4.0 <1.0 $ ND <1.0
MW-6 —_|08/26/2006!} 104.23 47.85 NP NP 86.38 || <1.0 i <1.0 <1.0 <1.0 j ND <1.0
MW-6 11/27/2006; 104.23 | 18.32 { NP NP} 8591 f <10 } <t0 } <t10 {| <10 } ND FT <10
_ Mw-6 —_|03/05/2007!} 104.23 18.52 | NP NP 85.71 | “<4.0 i <1.0 <1.0 | <1.0 $ ND <1.0
_MW-6 —-/05/24/2007!) 104.23 | 18.10 NP NP i 36.13 84.0 | <4.0 i eto of <10 ND <4.0

MWe 08/22/2000 |
MW-7 —_ |02/08/2001
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MW-7 10/22/2001
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Mw? |osiotza002
Mw-7 —_jov/oe/2002)
MW-7 _ 10/23/2002 |:
Mw-7 {02/04/2008 |

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__ MW-7._ josr2eiz006|} 102.62

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ND } <10.0
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<1.0 <1.0 <1.0 <1.0 ND <4.0
<1.0 <1.6 <1.0 <1.0 ND <4.0
<1.0 <10 $ <10 ; <40 $ ND ; 15
<10 3 <10 $ <10 } <10 : ND <1.0
<10 $ <1.0 <i0 } <to } ND <1.0
EO <0 FP sto “1.0 7 ND “100:
<0 | <t0 <0 | <10 | ND i cto |

16.02
_ 18.68

NP

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BPCITYNY0000296
“Well 1D

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Date

‘Reference Depth to Depth to: LNAPL
‘Elevation . Water . LNAPL Thickness Elevation :

(ft)

TABLE 1

GROUND WATER GAUGING AND ANALYTICAL DATA
Sevice Station Number 11009

165-25 Liberty Ave
St. Albans, NY

GROUND WATER GAUGING DATA

’ Water

(#t} (ft) (ft) (Ayr

Benzene

(ug/L)

GROUND WATER ANALYTICAL DATA

Ethyi-
benzene
__ {bafL)

Total

_Xylenes = BTEX  MTBE

(ng/L)

, Toluene
{ugiL}

(wo/L) = (wall)

wr
WOT

W-07

_ wor

W-07

WOT
Wo7

08/25/2006 ||
14/27/2008),
03/05/2007 | 97.45,
_josveare007 |} 97.45
08/29/2007 !
11/08/2007
02/18/2008 i

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84.47
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84.94 |
85.03 4
85.31 |
83.92

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37.2
o93u | 224 |
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15 =} 068d 1.9 738 |
Well Not Sampled - LNAPL {0.03 ft)

i 400 |

48

NYSDEC GWOS _NGV_NGV_| NGV_| NGV___NeV : 1 5: 5 NG 0
MW? 08/25/2008 | 102.62 | 16.36 : Np NP <0} <10 } <10 io<to | nD i <to
mw-7 (11/27/2008 40262 | 1684; NP i NP <0 i «10 $ <t0 $ <0 } ND eto
MW-7 | 03/08/2007! 102.62 i 1703} NP i NP <0 | <10 : <1.0 f 40 2 ND} <0 .
mw-7  osiearz007|| 102.62 : 1861; NP | NP <0} <10 : <t0 $ <10 } ND ; <1.0
mw-7 — os2er2007!1 to2.e2 § 16.13 | NP : NP <0} <t9 i 10 f <1 } no i <to |
mw-7 —_|1/08/2007|| 102.62 | 16.61 | NP fone | <0 i <10 } <t0 } <0} NDE <t0 |
Mw? — ozrie/2o08|, 102.62 : 16.65 | NP 4 NP} <5 : <05 | <05 : <05 | ND : <05 |
MW-7 05/14/2008 1 Weil Not Sampled -Inaccessible : Well Not Sampled ~ inaccessible

_weo7 [10/28/2002 | : | 10a0 | oe: 585 fo 1149 i 1.235 } 223
_ W-07 (05/14/2003 1 i i i No Sample - LNAPL ( 0.01 ft)

w.o7 0906/2003 | i No Sample - LNAPL ( 0.03 ft)
wor 12/20/2004 | i 4 448} 63 | 86 ioaar i 228 f «10
W-07 08/14/2004 : i Not Sampled - LNAPL (0.01 ft)

w.07 05/31/2008 |i i : ___ No Access .

W-7 — [08/19/2005 | a 4 i Hi 4,220 36.6 : 36,7 68.0 | 1361 | <100
w-07 | 11/29/2005 § fo 4 of | 1230 : 570 : 201 ¢ 996 { 1,407 <5.0
w-o7 _fo2ezi2006/} 97.46} 14.71 | NP i NP | 574 1 114 $1} 34 : 10.5 137} <1.0
W-07 ‘osreer2006}, 97.45 : 42.42 | NP NP i 95.03 || 450 i 19.5 10.0 wt} 206 i <1.0

W-07

MWB
WBA
MBA
MW-8A
MW-8A

MW-8A
MW-8A

_ MW-BA
_ MWBA
__.MW-BA

2, MW8A
a MW-BA
_MW-8A

02,

__ [05/24/2007

11/08/2007

05/14/2008 |

92/10/2005 |

[osist2005)
fostigr2005),
[1111712005 |
02 o6j) M
_ {08/26/2006 |
08/25/2006 i
|11727/2006 ||
Jos/08/2007 |

{98/29/2007

02/18/2008 §

13.52 0,03

mama cn eens femme nese a deeeee nen ec enn geeeedateeneanes
da vewenenee fem nana ne ndae dau eneen eee sen e cet N adem eed owned eden enn nneeedds Hr teede eden es nn nnd ee snes nan

Boe cee NO ARIES
113.78 | NP NP NM

NM
NM
NM
, NM
NM e
NM
aw

NP NP

np i NP
ne} Np

pf NP.
CNP NP
NP} NP
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tes
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<1.0

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Well Not Sampled - LNAPL 0,03 Al

i <to } <10 $ ND }

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No Access

<1.0 4 <1.0 } 1.0 } ND <10
<0} <t0 | <10 } ND i ct.
<1.0 i eto } <10 : NO ft <t0
<1.0 <1.0 <1.0 | ND <1.0

<1.0
<1.0
<1.0 |
0.5 |

<1.0
<1.0
“1.0

<0.5

<1.0 ¢ ND
<1.0 ND
<1.0 } ND.
<0.5 3; ND

<0 |

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TABLE 1
GROUND WATER GAUGING AND ANALYTICAL DATA

Sevice Station Number 11009 ;
165-25 Liberty Ave
St. Albans, NY

GROUND WATER GAUGING DATA GROUND WATER ANALYTICAL DATA

‘Reference ‘Depth fo Depthto. LNAPL | Water | Ethyl > Total
‘Elevation Water LNAPL Thickness [Elevation |; Benzene Toluene benzene Xylenes BTEX MTBE
WellID Date = gL) ah) ait) HO) ugh {ug/L}
NYSDEC GWQs _ NGV NGV | NGV | NGV. | -NGV_/ 4 5. § 5  . NGV 10

Mw-8A |os/i4/2008}, NM i 44.13 1 NP NP <5 : «05 } <05 } ND $ <05 °

NM | <0.5

; ND
ND
ND
10.1

<1.0
<1.0
<1.0
0.44 J

<1.0

<1.0

<1.0
5.0

616
<1.0
<1.0
<1.0

<1.0 ¢  <4.0
<1.0 <1.0
<1.0 <1.0
<1.0 4.7

~ mw-se— [oz/to/2008!
MW-8B [05/31/2005
MW-8B — |08/19/2005 |)
mw-8B | 11/17/2008 |

13.30 NP

MW-8B 02/22/2006 | NM NP NM of <i.0 <1.0 <1.0 <1.0 ND : <1.6
mw-8B —-|05/26/2006', NM ; 13.94 ; NP NP NM 19 0.56 J 9.3 1.4 132 3 <10
mw-88 {08/26/2006 NM } 13.72; NP NP NM '} 0.85 J 5 i 174 5.9 29.2 } 0.384

—Mw-8B (11/27/2006/) NM ‘Not Gauged / <1.0
Mw-88  [03/05/2007|, NM Not Gauged i <t@
mw-88 — los/2a/2007/, NM} 13.95 | NP NP NM <1.0
Mw-8B -|08/29/2007/, NM? 14.07; NP_ NM <1.0

NP
13.95 NP: NP

<10 i <f0 | <t.0 ND 0.43 J
<0 $ <4.0 <1.0 ND <1.0

<1.0 <1.0 <1.0 NO: <1.0
: <10 i <10 <0 } ND } <1.0
NM = <40° : <10 $ <10 $ <0 } ND | <10

Vee daw a cones wee nce meee ete nee ened ceases cera neleaees

MW-8B | 11/08/2007: NM

_MW-8B 02/18/2008 | NM 13.98 | NP > oNP NM <5 3 <05 $ <05 }{ <05 } ND i <O5
MW-8B —-|08/44/2008/! NM 14.14} NP NP NM <5 { <08 ! <05 } <05 $ ND i 052J
MW-8C —_|02/10/2008 } i i o<t0) $ <t0 $ <t0 $ <t0 | ND f <1.0

_ww-sc — |05/31/2008 |
MW-8C —-108/19/2008 |
_MW-8C 11/47/2005 2
Mw-8C | 2/22/2006/) NM

Lo No Access
i <1.0 0.5 J 10 | <10
BO sto <1.0 <10 | <1.0

NM 4 <10  } <10 3; <1.0 i 21.0

Mw-8C = 08/26/2006! = NM 13.85 : NP NP nm 0.814 <0 } 32 | 088d

Mw-8C —-|08/26/2008', = NM 43.76} NP } NP NM of 044d 2.8 9.9 3.6

Mw-8C — -|11/27/2006;, NM Not Gauged <1.0 <1.0 <1.0 <1.0

MW-8C —-|03/08/2007/) NM _ Not Gauged i st.0 <1.0 $ <10 1 <1.0

mw-sc —-|05/24/20071/ NM 13.97 } NP NP NM <1.0 <1.0 <1.0 : <10

_ MW-8C (08/29/2007); NM 43.98 NP NP NM i <1.0 <1.0 <1.0 <1.0
-Mw-8C | 41/08/2007); NM 13.95 ; NP NP NM fF <1.0 <1.0 <1.0 <1.0 ND; 0.65J
Mw-8C (| 02/18/2008; = NM 13.98 NP NP NM <0.5 <0.5 <0,5 <0.5 ND <0.5

MW-8C -|05/14/2008;; NM 14.16 NP NP NM, <0.8 <0.5 <0.5 <0.5 3; ND <0.5

0.5 : 0433
ND <1.0
ND <1.0
4.26 0.68 J
16.7 2 <t0
ND: <10
ND <1.0
ND <1.0
ND <1.0

43.25 NP NP

MW-8D 02/10/2008 |, bo 1.0 <1.0 <1.0 1.0 $ NO Eb <to ,
“Mw-8D — |05/31/2005 3 | <1.0 <1.0 «io $ <10 | ND ; <to
MW-8D 08/19/2005 : <1.0 <10 <1.0 i <1.0 i ND i <41.0
Mw-8D 144 7/2005 | »  <1.0 <1.0 <1.0 <1.0 ND <1.0
mw-8d —_|o2i2e2006/, NM : 13.28 ; NP NP i NM 8 <4.0 <1.0 1.0 3} <0 ND 0.37 J

<1.0
<1.0

<10 } ND i <t0
<1.0 ND <1.0

<10 <1.0 ND <1.0 |
<1.0 «1.0 ND <1.0
<0 i <10 $ <1.0 ND <1.0

MW-8D [05/26/2008 |, NM
_MW-8D — }08/26/2006}| NM
mw-so — |11/27/2006/, NM
"wwe [oavosr2007 NM
| __Mw-8D __|os/24'z007)) NM

193.97
43.76

NP _NP NM Lo <1.0
NP NP NM <1.0
Not Gauged | <1.0
NotGauged dt
44.00 : NP NP NM <1.0

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TABLE 1
GROUND WATER GAUGING AND ANALYTICAL DATA

Sevice Station Number 11009 ;
165-25 Liberty Ave
St. Albans, NY

GROUND WATER GAUGING DATA

‘Reference Depth to Depthto: LNAPL . Water
: Elevation Water . LNAPL Thickness ‘Elevatio
WelliD | vate ff) : () ( . ft) | Cy

GROUND WATER ANALYTICAL DATA

' Ethyl: * Total
: Toluene | benzene “Xylenes © BTEX  MTBE
(pofL} = (ug/L) © (pg/L) = (pg/L) © (ug/L)

NYSDEC GW@S | sNGV_ | -NGV | sNGV_. _NGV_!_NGV 8 5 6 | 5 NGV 40
_w-ed _|osizerzo07/). «Nm i 14.08 | NP inp od NM Eo<io i «to f cto f xo i <t0
mw-ad _|11/0g/2007), NM i 1402 | NP of NP of NM ij; oto } <t0 3 <10 } ND j 026s
Mw-8D [02/48/2008 «NM | 14.03 i NP of NP i NM of <05 | 08 } 05 | ND i <05
wed fosaoos} NM | 14.16} NP} NP i NM i cos $ <05 | <05 | ND ? <05
wos —_[o9/1s/2000 i g | i i <oso $ <050 : <050 $ ND | <0.60
w-08 —_|02/08/2001 j i i si7 | sas | 252 i 058 : <08
wos |rora2001,,. «i i <0.50 } <0.50 | 363 | 363 | <100
wos = fozszo02/) : i Not Sampled - LNAPL (1.06 ft) _
_w-o8 {07/09/2002 | 4 f osas | oes9 : <0.50 } 1.43 : <10.0
w-o8 | 10/23/2002 i i <io f <to $ <t0 } nD <t0
w-08 {02/04/2003 i i <to $ <to $ <0 $ ND f <to
w-o8 02/20/2004!) : i i Obstructed
w-08 {05/14/2004 i i 15: <t0 $ 44 | eto $ 29 | <10
w-o8 —_fos/og/20044) i i <0 $ <10 | <10 $ <0 } ND i <t0
w-08 —_ | 12/01/2004! i a j i <0 | <0 } <t0 } <0 | ND: <to
was ossve0s) EE __No Access
not Yoneanoos!| iw fear one Ewe fon | go ftp | ate | te fon | ato
wos — losrzera00s|| NM of i3t7 i np ft onp oi Nm | cto i eto $54 cto } 54 <10
wos — joseseo06! nm {1292} NP i NP of NM | cto 7 <0 } <1o | <1o | ND: x10
wos |rsa7izo0s|, «NM; 13.20 NP of ONP Of NM fF  <t0 i eto f <t1o $ <0 } ND : «to
w-os _fosiosz007/ NM} 13.63 | NP i onp fo nm if 10 } <0 } <t0 $ <0 | ND | <t0
wos  joszarz007/, nM i 1381; np i? np i nm | to f <to i <0 |} «10 i np i <t9
w-o3 _fosio007, NM | 1243; NP ft oNP of NM 4 «10. i <9 | <0 | <t10 | np E <to
wos = [11/08/2007 «NM | 13.17 NP i NP : NM 4 <t0 $ <t0 0.41 J <t.0 i o41 } <10
woe foattanoos; nm i tsi7i np oi NP i NM | 08 } oss § 9 | 2 | 16 | x05
wos  losftazoos!t NM 1330) NP i} NP; NM <5 { <5 $ <05 | o66y | 06s ; <0s
mw-9a —_ |o2/t072008 | po PP exo beta f xt f cto fom Ext
— MW-8A [05/31/2005 ) i | sto f <0 | <t0 i <4.0 | 1.01 i <10
_wwsa — osrtgrzo08 Dob ad i NO ACS
“mw9A |rtzao08 EI | <0 7 <to i <0 } <0 f no | <to
mw-ea ozizzigoos) «NM of 1144} NP} NP of NM ff 450 7 <10 f <t0 } <0 ] 15 | <10
mw-oa loszerzooe| «NM of 1247; NP i$ NP} NM <0} <t0 | <0 : «10 | np { <10
Mw-oA os2siz008/ «NM i} 1199; NP i NP of NM | <t0 : eto $ <to f <0 } nD | «to
MW-9A 41/27/2006 | NM No Access | . No Access
Mw-eA — }03/05/20077/ NM 12.6 ‘NP i _NP i NM <1.0 } <1.0 i <1.0 4 <10 } ND <1.0
“ween losrea2o07# «NM of 1223) NP of NP of NM | cto i <to $ <0 } 10 | NDE <10
MW-9A 08/29/2007! NM } — WellNotSampled-No Access sa... Weil Not Sampled - No Access .
MwegA [41/08/2007 NM} 12.20} NP i NP of NM | 100: 436 {782 : 2,090 | 3318 | <50

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‘Reference Depth to Depth to
- Elevation

TABLE 1
GROUND WATER GAUGING AND ANALYTICAL DATA

Sevice Station Number 11009
165-25 Liberty Ave
St. Albans, NY

GROUND WATER GAUGING DATA

LNAPL Water

Water

LNAPL Thickness Elevation :

GROUND WATER ANALYTICAL DATA

: Ethyl-
‘Foluene . benzene -

Total

Xylenes BTEX

MTBE

Mw-sc {08/29/2007

NM

Well Not Sampled - No Access

Well Not Sampled

- No Access

Well ID =: Date (fo (ft) (it) tft} fy" two/k) © hig), (ugh) © tual) (ug/L) ugit)
NYSDEC GWQS NGV ss NGV NGV . NGV | NGV § 4 BoE 5 > § + NGV : 10
mw-sa _fositazooai| nm i 1260; NP i NP i NM | <o5 : <05 } <05 | <05 | NO} <05
MW-9B 02/10/2008 eto j <1.0 | ‘eo of <to $ ND Of <t0
Mw-98 {05/31/2005 4 i 145 | 74g i gor } 2260 ; <20
mw-98 — }08/19/2005 i a (No Access — -
_ MW-9B | 11/29/2005 i i i 4610 $274 : 908 : 447 1 1773 } <50
—mw-98 —fozez2008, «NM i 11.60} NP ot oNP i ONM wo | 19 { assy } <1 } 122 | os7y
_ww-98 — [osi2e/2006!: NM : 4240; NP ? NP {NM sf 628 | ere i 403: 1349} <25
_ Mw-9B — |08/25/2006)) NM i 4222: NP } NP} oNM 493, | 651 | 4,630 i 501 20965 : <t0
MW-98 . 11/27/2006 : NM No Access ee No Access a
_mw-98 {03/05/2007}! NM Not Gauged i} <to.0 4 7e1 } 826 { 3,280 } 4807 } <100
mw-98 fosi2az007 «NM so; 1243} NP} NP of oONM i <1.0 i <4.0 ] <0 | <40 } ND | <to
MW-9B 08/29/2007 A NM i Weil Not Sampled -. No Access i . - a _ Well Not Sampled - No Access _
MW-9B 41/08/2007: nM 4245 NP np} NM | et. i <0 | <t0 i <0 : ND  <10
w-98 — |02/18/2008:, NM i 4220: NP$ NP NM 4 | 180 | 210 ' ado G a34} <05
mw-98 jos/4008,, nM : 1259) NP | NP? NM | i 450 i 140; 500: 1183 | <05
mw-sc — o2ror2005 5 fo i 42 $ osty | 21 | 242 | 066s
-Mw-9c [08/31/2005 | i Pocto $f <10 | <1.0 i nD i <10
mw-gsc — |osit9/2005 Bo No Access
mw-ec — | 14/29/2008 | | 26 } <10 } assy | os3y ; 320 | osty
MW-9C 0222/2006 |, NM i 41.66 NP NP oi NM F770 |} oss : oes } 47 $802 i <40
wesc fosi2e2008! «NM; 12.36 | NP np oi NM fF <to0 i <10 } <0 } <10 | ND ; <to
mw-sc  {oa/25/2006, NM o£ 12.17 1 NP Np oi NM § cto} <to } 10} <40 | ND E «to
MW-9C 11/27/2006: NM; No Access i No Access /
mw-sc [osios/z007/; NM Not Gauged i <0 } <0 3 <10 $ ND i <10
MW-9C 05/24/2007, NM } 12.50 i np i onp) of) oONM i eto $ <t0 } <t0 } nD Ef <to

-Mw-20
MW-9D
MW-9D
MWw-9 D
HaW-90

[os:zsr2006!)
08/25/2006 |
11/27/2008 |

-|o3r0si2007 |)
05/24/2007 |

NM
NM
NM
NM
NM

12.44 NP i NP NM
12.24 np} 0 NP Od) ONM
No Access

Not Gauged
NP; NP

12.47 NM

14
<1.0

. ws :
cee st
p

38.4
ND

NoAccess
i <10 $ <10 3 <10 ) ND
i <0 $ <10 | <1.0 $ ND

wwesc  |1vosr007!) «NM i 1240; Np NP} NM 02s {| <10 } <10 | <10 } 028 : «10
mweec  foateo0) NM: 12.42) np o£ NP of NM | <05 i <05 | <5 | <05 | ND i <05
mwoc  fosaizoos!| «nM i 1258: NP : NP | NM | <05 $ <05 } <05 } <08 } ND} <05
mw-90 _ | o2/a/2005 | gaa} age | 432; 24s | 1963: <20
mw-90 {05/31/2005 ; aio } <10 $ <0 | <10 } ND } 29
_Mwe90 — [og/19/2008 i i . . No Access .
MW-2D- 11/29/2008 <1.0 <1.0 <9} <10 $ ND } 20
wep fozae006/) NM of 14.71 NP of NP NM 046d i o18u i <10 $ o78s } 142 } 0.923

i: 0.60
i <4.9

<1.0
<1.0 |

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TABLE 1
GROUND WATER GAUGING AND ANALYTICAL DATA

Sevice Station Number 11009 ,
165-25 Liberty Ave
St. Albans, NY

GROUND WATER GAUGING DATA GROUND WATER ANALYTICAL DATA

"Reference Depth to'Depth to LNAPL | Water Ethyl- ‘Total
Elevation Water LNAPL Thickness Elevation; Benzene Toluene benzene Xylenes | BTEX MTBE
WellID , Date () = = () , (fH (fH (ye (H@/L) (pail) (git) (He). (uigi) (ug/L)
NYSDEC GWOSs __NGV NGV | NGV : NGV. NGV i, 4 5: § | § . NGV 10
[NM
mw-ap = |11/08/2007;) NM
MW-ep [02/18/2008 NM
Mw-9D 05/14/2008: NM

_ MW-8D 08/29/2007 i Weill Not Sampled - No Access

412.47} NP NP
12.46 i NP NP
NP

12.59 NP

Well Not Sampled - No Access

i <1.0 <1.0 <1.0 : ND
<0.5 : <0.5 <0.5 ? ND
<0.5 <0.5 <05 : ND

NM
NM
NM

i

ND
ND
ND 3 <1.0
ND: <10
0.32 + <10
ND
142 3: <1.0
ND
ND
ND

mw-10a {02/10/2005 i <1.0
__ MW-10A 05/31/2005 :
MW-10A [08/49/2005 ,
MW-10A — | 11/47/2005
MW-10A  Jo2/22/2006:; NM 12.65
MW-10A 06/26/2006) NM | 13.37
MW-10A — | 08/25/2006 EooNM of 43.24
mw-toa f 4427/2006 «NM 13.75
mw-104 |03/05/2007!, NM {13.22
Mw-10A {05/24/2007 NM} 13.48} NP

<1.0 <1.0 <1.0
<1.0 <1.0 <1.0
<1.0 <10 3: <t.0
<1.0 <1.0 <4.0
<1.0 <1.0 <1.0
23.8 TUT 29.9
<1.0 <1.0 <1.0
<1.0 <1.0 <1.0
i <10 3 <10 : <i.0

<1.0 } <1.0

NP
NP
NP
NP.
NP

NP NM
NP : NM
NP NM
NP NM
NP : NM
NP NM

MW-10A NM oi 1413 £ NP NP - NM i «to | <0 $ <10 $ nD f <t0
MW-10A NM i 13.42 1 NP ‘NP; oNM f cto } <0 $ 10 } nD ft <t0
_MW-10A nm 13.48 | NP NP} NM i <o5 | <05 i <05 $ ND } <os
MW-10A nm $13.83; NP NP} NM i 20s ; <05 : <o5 $ ND} <05
“MW-40B i t 4 i <0 ¢ 144 } 58 $ 202 : 19
MW-10B 05/31/2008; | i 0 | 53 : <10 } 596 | Oey.
_ MW-108 [08/19/2008 i eto | <t0 $ <to $ 085 i <10
" mw-top | 44/17/2005 bo i cto i <t0 : <0 } 15 : <10
" MW-108 baz73 i NP NPoof NM i cro: <t0 $ os7s ? os7 } <t9
MW-10B 113.44 | NP NP oi NM: 24 | 062d $ a7 | 16 : 132 1 <10
MW-10B i 43.28 | NP NP; NM Bo <10 i eto f <1o $ <te $ ND i 9.324
_ MW-108 | Not Gauged i <1.0 47.2 : 15 i 18.7 <1.0
MW-10B bo Not Gauged i to | osgu $f <10 } 059 | <10
- wwetos osreaaoo7' NM; 1395; NP | oNP i oNM i co f cto $f <1a fo ND} <to
/  mwetos josia2007; NM i t407 ; NP of NP of ONM i octo i <40 | <to } NO: <to
mweios |14os2007, NM : 1357; NP$ NP} NM i eto } o43s | <10 } 085 |} <t0
Mw-108 ozrie2oc8|| «NM i 13.63 | NP i np oi ONM i 5s } <0s i} <o5 { ND i <05
mw-t08 [os/1472008/ NM} 4352; NP$ NP NM i cos | <o5 | <08 i$ NO | <5
mw-toc foano2z005 eo f eto i <0 $f <t0 | ND f 27
mw-10c | 05/31/2005" «to $f <0 } <to } <0 } ND Of <t0
Mw-10c [08/19/2005 | i i i osey } <t9 $ <to <1.0 038 | <10
| MW-10C 14117/2008 j) i <1,0 “1.9 | <1.0 <1.0 1 ND <1.0
mw-1oc fozizz/z006# «NM i 1270: NP i NP of NM | <1.0 { <10 | <10 | O87) ; 087 | <10
_ “mw-toc fosze2008), NM i 13.40 i np i op oi NM 4 <t0 | <to E cto | <to i nD i <to
| mwe1oc [08/25/2006 bONM, i 13.25 t NP § NP i nm 2 <t0 } <10 i eto $ <10 $ ND } o4ay

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TABLE 14
GROUND WATER GAUGING AND ANALYTICAL DATA

Sevice Station Number 11009 ,
165-25 Liberty Ave
St. Albans, NY

GROUND WATER GAUGING DATA i GROUND WATER ANALYTICAL DATA
‘Reference Depth to Depth to : LNAPL Water : Ethyl . Total
‘Elevation Water . LNAPL : Thickness Elevation |; Benzene Toluene . benzene “Xylenes  BTEX  MTBE
WellID = Date (fA sR) (ye Goh) aL) | fugit) (ail) (pg) (voit)
NYSDEC GWQS i NGVecL NGVos NGV. ONGV. =. NGV | 4 BoB 5 5 | NGV 10

<1.0
<1.0
<1.0
<1.0
$1.0
—<0.5
<0.5

<1.0
<1.0 ND
<1.0 ND: <1.0

Not Gauged- | <1.0 ND
_ Not Gauged $1.0
NPP NP OF NM | <1
NP NP NM: <1.0
NP NP NM 8 <1.0
NP NP <0.5 -

NP NP <0.5

MW:10C" © 11/27/2006 : NM
Mw-toc  }03/05/2007)) NM
_MW-10C°—/05/24/2007;; NM
Mw-10C —_|08/29/2007); NM
mw-10C | 11/08/2007) NM 13.47
_MW-10C —|02/18/20081; NM 13.49

$1.0.
<1.0
<1,0
<1.0
<1.0
0.5
<0.5 .

43.53
13.96

<1.0 ND }
<0.8 ND i <08
<0.5 NO:

were teen emer eeeadinecawe nese naae.

<1.0 ND <1.0
MW-10C | 05/14/2008:; NM } 13.53
<1.0 i
<1.0
<1.0
<4.0
<4.0
65
43.5
<1.0
<1.0
<1.0
<1.0
<1.0
<05
<0.5

<1.0 ND
<i0 ¢ ND
<1.0 / ND
<1.0 ND
<1.0 0.73
14 i 7.91

_mw-ton {02/10/2008 |
(MW-10D | 05/34/2005 |
MW-10D __ | 08/19/2008 |

MW-10D | 11/17/2005 - .
_Mw-10D—‘fo2/22/2006., «NM
Mw-100 —|05/26/2006}} NM
MW-10D — |08/25/2006;, NM
-Mw-toD—(|11/27/2006/, NM
Mw-10D [03/05/2007 }! NM _

_Mw-10D —|08/24/2007;, NM i 13.48

— Mw-toD [08/29/2007 NM 13,74

_ MW-40D 11470872007) NM; 13.48

_ MW-t0D—[oartg/2008/, «NM of 13.48

MW-10D |05/14/2008|, NM 43.48

: i <1.0 <1.0
| tO f <10_
Hh <t0 <1.0
i <1.0 <1.0
| 073d <1.0
<1.0 0.31 J
19 14,3
<1.0 <1.0
} <1.0 <1.0
NM.) <1.0 <1.0
NM <1.0 <1.0
NM ob <4.0 <1.0
NM of <05 <0.5
NM 4 <05 <0.5

12.69
13.39
13.26

_NP
NP
NP

NP
NP
NP

NM

17.2 76.9 : 0.383

<4.0 ND

Not Gauged i
<0 : ND } <t0

Not Gauged
NP NP
NP NP
NP NP
NP t NP
NP NP

<1.0 } ND
<10 | ND
<0 | ND} 0.43J
<05 ND : <05
<0.5 ND

w-21 {09/15/2000

W-24 02/08/2001 ;
W21 [06/27/2001

<0.50 ND

<0.50 i
<o.60 $ ND

<0.50
<0.50

<0.50
<0.50
<0.50

| <0.50
: <0.50
<0.50

<0.50 ND : <0.50

NP NP NM of <10 0 =f <10 i «to $ <1.0 i ND} <t0
NP NP NM __ Well Not Sampled

__ No Access | ___No Access
NP NP NM <1.0 <1.0 <1.0 NO <1.0
NP NP NM <1.0 1.0 “10 : ND <1.0
NPE NP OE ONM to

f <10 } <10 ND <1.0
NP NP NM of <4.0 <10 $ <10 2 <10 ND <1.0
NP (NP NM | <1.0 :

<1.0 <1.0 ND } <t4.0
NPP NP OP NM of 308. :

12,69
NM

weet |02/22/2008;; NM
w-21  |05/26/20068!; NM
weet |osi26/2006/| NM
w-21 [11/27/2006 | NM
weet {03/05/2007 NM
weet os24/20077) NM
w-2t _fosizer20071, NM
we2t | 41/08/2007!, NM
w-21 —|02/48/2008]} NM

W-21 | 10/22/2001 !) if <0.50 <0.50° <0.50 <0.50 ND <10.0

_we2t (02/16/2002: | 2050 { <050 | <050 : <050 } ND | <100
w-21 [05/01/2002 <o50 : <050 } <050 } <050 } ND { <100
W-21 10/23/2002 | i _<4.0 0.78 <0 | 042 | 147 | 061
—we2t —_|02/04/2003 ! <1.0 <0} <10 | <10 | ND } <10
W-24 4444. 7/2008 |; . No Access

13.70
13.93
13.47
42.71
13.46
13.45

bee gee cee ene er eee ene ene eee ene a cen een e mel eea men en ened wanda tad andes tusamene len een ered ers ras srees

<0.5 <0.5 ND 60.5

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BPCITYNY0000302
"Well 1D

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Reference Depth to Depthto LNAPL |
LNAPL Thickness Elevation

Date

NYSDEC. GWos

TABLE 1
GROUND WATER GAUGING AND ANALYTICAL DATA

Sevice Station Number 11009
165-25 Liberty Ave
St. Albans, NY

GROUND WATER GAUGING DATA

_ Elevation

{ft)
NGV

Water

Water

(ft)
NGV

(ft) (fey

NGV

NGV

Benzene
(pit)

GROUND WATER ANALYTICAL DATA

: Toluene

(ug/l)

Ethyl-
benzene
fugit)

Total
BTEX

(ug/L)

| MTBE
 (ugil)

.Aylenes :
: (ug/L)

W-22

{03/08/2007

96.98

Well Not Sampled - No Access

___ Well Not Sampied - No Access

.__NGV 758) BB NG 10
w-21 losaroog nm { 1362: np : np i nm 4 <o5 } 15 } 0825 $ 28 | 482 | <o5
w-22 foaris20001 4 | | cos : <050 | <0.50 | <o50 ! ND } <050
w-22 {06/27/2001 : i : : t <0.50 i <0.50 } <0.50 i <0.80 i _ND i 45.0
| W-22— 105/01/2002 | i <0.50 i -<0.50 <0.50 : <0.50 ND j <10.0
| wag {40/23/2002 | S40 | 042 f <10 | <0 | 042 } <10
| wee2 [02/04/2003 |. <1,0 <1.0 <1.0 <0 } ND : <1.0
weg [11/26/2003 . <1.0 <1.0 <4.0 <0 } ND } 28
W-22 02/20/2004 :. : <10 $ <10 $ <10 $f «to i nD | 10
w-22  |05/14/2004 <0} <40 ; <10 $ <10 | ND E <1.0
__W22 | 08/09/2004 | i <1.0 10 | <10 <1.0 } ND : <t0
—W.22 12/01/2004 ; <1.0 <1.0 <0 $ <0 } No i <t0
w-22 _ |o2tor2005 <0} <t0 } <0 $ <10 { no f «to
w-22 | 05/31/2005 435 | <10 $ o7oy | ozs} 148 } 092J
w-22 —-}11/29/2005 : <td x10 <1.0 i <0 i ND} <t0
_w22  fooreerccs) se03 | 1108 NP i NP} asso | <10 6 $ cto f <t0 fo <0 | ND } cto
w-22  |osreerz00e! 96.98 {11.70 | NP i np of 8549 <0 $ <0 } <t0 } <0 | ND i 42
22 fooascow once | Wome Noa
_ wee | 11/27/2006: 96.98 i 1243) NP i NP i e4a5 | <to i <10 i <0: <10 } ND: <to

W-22 08/24/2007; 96.98 $11.86: NP $ NP } 85.12 1 e409 i <4.0 <0 ¢ <10 } ND i <4.0

W222 08/29/2007 96.98 Well Not Sampled - No Access . . Well Not Sampled - No Access
 w.22 11/08/2007, 96.98 { 11.87; NP $ NP: e541 <0 } <10 | <1.0 <1.0 i ND : <to
. _ W-22 02/18/2008:; 96.98 : 11.84 i onp i NP 85.14 <5} <0.5, i <5: <05 } ND : <0.5

W-22 05/14/2008 ; Well Not Sampled -Inaccessible 3 Well Not Sampled « Inaccessibie
“W-23 10/22/2001 i i i i 393 i og7 438 g 4.68 : 417 63.0

W-23 02/15/2002 |” i Not Sampled - LNAPL (0.08 ft)
W-23 10/23/2002 45 i <0 i <0 i eto $ 458 1 <t0
W-23 02/04/2003 | : ; yoo £0.88 | <1.0 <1,0 i 168} 47
we23 08/14/2003 Ho<0 : 28 f <0 | <t0 i 2g i <t0
W-23 09/05/2003 | | g58 of <10 4 11} <1.0 i 266 | <10
-W-23 1 41/2612003 : i . 1.0} <10 3 <0 | <to i nD | <to
W-23 02/20/2004 : <4.0 a0 i <0 } <t0 i ND i <1.0
W-23 05/14/2004 <10 | <10 <0 } <1.0 } ND ; <1.0
—we23 | 08/09/2004 | eof <0} <t0 | <10 } ND i <to
| we23 | 42/01/2004 i 728 } <10 i 0.82 J 49 78.5 i <t.0
~—w-23_|o2r0/2008 | | 51 of eto G <to of to i ost dt <i
_w.23 | 06/31/2005) j 4 i as i o7es i o2sy j o4sy i 100 | <10

PoE on |

W230

08/19/2005

<1.0

<1.0

ND; <1.0

4

1.0

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BPCITYNY0000303
Well 1D

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Reference 'Depth to Depth to: LNAPL
LNAPL - Thickness Elevation

GROUND WATER GAUGING BATA iH
Water 4

Elevation .

Date

NYSDEC GWOS. |

(ft)
NGV

Water

(#t)
NGV

TABLE 1

Sevice Station Number 71009
165-25 Liberty Ave
St. Albans, NY

(ft)
NGV

{ft)
NGV

(fy (ugét)
NGV_ |

:; Benzene

GROUND WATER GAUGING AND ANALYTICAL DATA

GROUND WATER ANALYTICAL DATA

Toluene
(ugi.}

§

Ethyl-
benzene

5

Xylenes
(ug/L) . (ug/L)

5

Totat
BTEX
(pgil.)

NGV

MTBE
{ugiL)
10

WEES

W-23
W283
W-23
W-23
Wes
W-23
_W-23
W-23

2 We

W-23

| s129/2005 |
02/22/2006:
_| 08/26/2006 |
08/25/2006 |
41/27/2006!
|oai0s/2007
fosr2ar2007 |
08/29/2007 |
| 11/08/2007 |
_Jo2rrarzo0s |
08/44/2008 |

97.97

97.97
97.97
97,97
97.97
97.97

97.97

97.97
97.97
97.97

11.96
42.67
12.50
12.95
13.16
12,68
12.73
12.70
12.76
12.88

NP
NP
NP
NP
NP
NP
NP
NP
NP
NP

NP
NP
NP
NP
NP
NP

“NP

NP
NP
NP

86.01
85.30
85.47
85.02
84.81
85.29, <1.0
86.24
85.27
85.21
85.09

<1.0
<1.0
6.81 J
23.2
<1.0
<1.0
<1.0
<1.0
<1.0
<0.5
0.65 J

<4.0
<1.0
0.45 J
46
<1.0
<1.0
<1.0
<1.0
<1.0
0.5 J
<0.5

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1

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<1.0 .

<1.0
0.94 J
1.1
<1.0
<1.0
<1.0
<1.0
<1.0
<0.5
0.78 J

ND
0.87
116
ND
ND
ND
ND
ND
0.5
1.43

<1.0
; <1.0
P <4.0
1.0
i <1.0
i <1.0
i <1.0
j “1.0
to |
i <08
i <05

w24
Ww-24
Wad
W-24
W-24
W-24
_W-24
W-24
W-24
_ Weed

W-24

W-24
W-24
W-24
W-24
W-24

Wea

., Wea

_ Weed
W-24
W-24
W-24
W-24

_| tor22r2001 |

02/15/2002 |:
{10/23/2002 4,

Jo2io4/2003 |
05/14/2003 |
{o9/0s/2003 |
_| 44/26/2008 |
__|o2/20/2004
“fosr14/2004 |
08/08/2004 ji
12/01/2004 |
02/10/2005 |
{05/31/2008 |
[08/9/2005 |
_ (02/22/2006 :

{08/26/2006
08/25/2006
41/27/2006 }}

- 03/05/2007 |
05/24/2007 |,
(}08/29/2007 |,

14/08/2007

02/18/2008 |;
05/14/2008 |}

Mo.

97.02
97.02
97.02

97.02

97.02
97.02
97.02
97.02
97.02
97.02

11.14
41.74
11.71
12.13
12.08
11.84
44.17
7.84
11.75
11.84

11.08
41.08
411,08
12.14
NP
NP
NP
NP
NP
NP

0,03
0.66
0.63
0.02
NP
NP
NP
NP
NP
NP

0.79 J
9.5

85.93 |

85.78. 042d
85.78 . <1.0
84.91
84.97 |
8621; <1.0
585 | <1.0
89.18 <1.
8527 <0.
85.21 3 <05

No Sampte - LNAPL (0.27 FQ)

i <0 $ t92 |
i cos } 16 3
io<to i 28 }
i oao i <0 |
aa boar |

i 5.4

Not Sampled -LNAPE (0.82 ft)
Not Sampled - (LNAPL 1.39 ft)
Not Sampled - (LNAPL 0.04 ft}

6.7
1.4

+
'
'

24.4

31.6
16.4

:

:
;
;

87.8
9.2
17.6
2.7
13,5
134

213
50.0

Not Sampled - LNAPL (0.67 ft)

‘
1
+
’

No Sample - LNAPL (0.06 ft)
No Sample - LNAPL (0.03 ft)

<1.0
<1.0
<1.0
9.8
<1.0
0.26 J
i <t.0
: = <0.5
<0.5

1.4
1.6
<1.0
22.3
<1.0
<4.0
<1.0
<0.5
<0.5

3.0
<1.0
<1.0
44.7
<1.0
<1.0
<1.0
<0.5

0.54 J

107
10.8
20.4

27
23,3

166

252
77.3

4.82
1.6
ND
242
ND
0.26
ND
ND
0.54

<10- :
«2.5
<4.0
6.5
1.0
i 44

<1.0
'  <1.0

“1.0
<1.0
<1.0
<1.0

<1.9
<1.0
<1.0
i <0.5

_ W-32
_ W382
_ W882

W382

02/08/2001 |:

[oereri2001 |
10/22/2004

5

44.8
12.5
2.4

447
544
135
513

356
98.0
13.6
32.4

865
646
163
570

i <0.5
> 16.2
i $4.3
i 124
: <10.0

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TABLE 1

GROUND WATER GAUGING AND ANALYTICAL DATA
Sevice Station Number 11009
165-25 Liberty Ave
St. Albans, NY

GROUND WATER GAUGING DATA : GROUND WATER ANALYTICAL DATA

.Reference ‘Depth to ‘Depth to: LNAPL Water | : Ethyl- Total
: Elevation Water LNAPL . Thickness -Elevation '; Benzene . Toluene — benzene Xylenes BTEX MTBE
WellID «Date | (ff) - ff) tT (yall) | tug/L) (ug/L) (ug/L) (ug/l) (Hall)
NYSDEC GWQS | NGV = NGV ; NGV : NGV  s—-NGV_C=-: 1 i 5 : 5 5 : NGV 10

we oars faa | 208 foam E saa | zor | «100
w-32 _.|07/09/2002! G 455} 09 : 877 § <050: 113 | <100
_wes2 | soresreao2 | f os { <10 i <10 } <to £ 068 | <t0
w-32 | 11/26/2003 i | 15 $ 904 } 268 } asa : 578 | <t0
w-32 02/20/2004: i : i . Obstructed
__we32 [08/14/2004 F <0 | <0 $ 394 § as : 4a2 i <10
w-32 [08/09/2004 <0} <0 $373 $ 92 | aes | <10
W-32 [02/10/2008 | fb <0 : <4.0 fb <1.0 i <0} ND} <10
W382 | 05/31/2008 | : 2 <0 i 10 | <1.0 3 <0 } ND : <10
__W-32 _ [08/19/2005 } 4 <40 of <10 : $1.0 <1.0 ND <1.0
waz |awgoaons Fb FO tg F 0} 0 ND} cto
w-32  |o2e22006} 98.61 | 1283; NP {| NP | 8578 | <10 <0 § <10 | <10 $ ND OE <t0
w-32 _|osieer200e| 98.61 | 13:53) NP i NP | g508  <19 f <40 | <0 | <0 | ND 1 <t0
w-32  |og2sro0s', 98.61 : 1342; NP | NP; 8819 | <10 10} «10 3 <10 | ND i: <t0
w-s2 |14/27/2006 98.61 | 13.90) NP i NP f aarti | <t0 <0} <10 | <10 : ND: <t0
w-32 |oaosro007;, 98.61 | 1403; NP | NP; gases, <t0 {| <0 } <1.0 | o4ey i 046 | <t0
W-32 05/24/2007! 98.61 ' 4360} NP { NP { 84g2 | <0 <0 } <0 | <10 $ ND : <t0
wee |osieereo07'{ 98.61 | 10.98; np i NP of 8763 | <1. <0 i <0 | <10 | ND | <t0

-w-32 | 44/08/2007; 98.61 } 1362: NP : NP $ 8499 3) <1.0
-w-32 [02/18/2008 98.61 | 13.62 | NP
W-32 05/14/2008; 98.61 | 13.77 } NP

<1.0—
80.5
<0.5

<10 : <10 $ ND f <t10
<0.5 <05 : ND } <05
<0.5 <5 : ND «<0.5

NP? 8499 4 <0.5
NP$ 8484 1 <0.5

i 40,400} 4,400
8,950 } 5,740
1230 231
5610: 3,930

W383 09/15/2000 :
w-33 |02/08/2001,
W-33 [06/27/2001 |

_ W838 10/22/2001

1,630} 7,220 } 23,650 } 11,800
4,960 } 8,700 : 25,350 : 16,300
44.2} 199 : 1.701 } 14,400

1,500 6,070 =: 17,110 3,930

w-33 ‘| 02/18/2002 i i 2,740 4,930 | 1,390 } 4,430 : 10,490 : 4,430
_we33—}05/01/202 | | 3030 | 4at0 } 2040 | 7,330 | 17.210 : 6,810
w-33 | 07/09/2002! : ; i gago E 14,100 ! 2070 | 9,160 31,810 | 247
(w-33 | 10/23/2002; i 41,300 } 8,260 i 2,650 | 11,340 } 33.550 2,810
W233 02/04/2003 : i 1,590 1,380 } 1,440 $ 3,490 ; 7,900 ; 641

556; 968

W383 05/14/2003 556
2,880 | 2,460

_ W383 09/05/2003 +
W-33 11/26/2003
W-33 02/20/2004 #!

1,700
4,030
2,310
78.2

4,140 | 4,364
6,320 } 15.390 ! 227
1,880 | 5,696 $ <10.0
143 | 400 : 545
230 | 634 } 338 227

80.1

538 968
21.0 : 257
4.3

—wW-33-105/14/2004,, 3 40.1
_W-33 jos/og/2004)) ; i 577} 106 «} «844 «=: 536 | 2,063 i 254
wes |raioizeod) ! aos i 112} sm E396 faa | <t0
_wes3 fo2rtoreo05)} | : 180 | 967 $ 20 i 22 i m9 | <to
_ W388 osrat2005 | j 88 496} ato} az | 1,653 | 580

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BPCITYNY0000305
